           Case 1:06-cr-00087-SAG Document 159 Filed 05/25/22 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
UNITED STATES                                 *
                                              *
v.                                            *      Crim. Case No.: SAG-06-087
                                              *
LAMONT SANDERS,                               *
                                              *
       Defendant.                             *
                                              *
*      *       *       *      *       *       *      *       *       *      *       *

                                  MEMORANDUM OPINION

       On April 15, 2021, this Court issued a memorandum opinion and order denying Lamont

Sanders’s motion for compassionate release without prejudice. ECF 148, ECF 149. In that

opinion, this Court invited Mr. Sanders to reapply for compassionate release after one year if he

maintained an infraction-free disciplinary record during that time. ECF 148 at 9. Mr. Sanders

kept up his end of the bargain, maintaining an infraction-free record and taking advantage of the

programming offered to him. On the present record, this Court finds that the combination of the

length of Mr. Sanders’s sentence and his demonstrated rehabilitation constitutes an extraordinary

and compelling reason justifying further consideration of compassionate release. Moreover, the

Court finds that the 18 U.S.C. § 3553(a) factors justify a reduction of his sentence to time served,

with a 6-month period of home confinement added to his conditions during his 8-year term of

supervised release. Accordingly, for the reasons described below, this Court will grant Mr.

Sanders’s motion for compassionate release, ECF 157.

       As described in greater detail in its April 15, 2021 memorandum opinion, upon receipt of

a properly filed motion for compassionate release, this Court follows a three-step inquiry that

considers: (1) whether “extraordinary and compelling reasons” render the inmate eligible for

compassionate release; (2) whether the factors set forth in 18 U.S.C. § 3553(a) weigh in favor of
         Case 1:06-cr-00087-SAG Document 159 Filed 05/25/22 Page 2 of 4



a sentence reduction; and (3) whether the reduction is “consistent with applicable policy statements

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i).” 1

       Looking first to the presence of “extraordinary and compelling reasons,” this Court

reiterates that had Mr. Sanders been convicted for identical conduct today, it is likely that he would

not be required to plead guilty to all three charges of conviction, and the government likely would

not seek a sentencing enhancement. ECF 148 at 7-8. This Court recognizes that Mr. Sanders had

an egregious criminal history and was found in possession of multiple firearms. Even so, the 248-

month sentence he received more closely approximates the sentences imposed today for violent

conduct, and well exceeds the typical sentencing range faced by a person in this District convicted

of narcotics distribution and the associated possession of firearms. See ECF 132 at 8-9 (collecting

cases). Clearly, sentences are meant to be final; there is no general mechanism for reducing a

defendant’s sentence merely because it would likely be lower if imposed under modern charging

practices. However, the length of time Mr. Sanders has already served (approximately 16½ years),

in combination with the overall length of the sentence imposed and his demonstrated rehabilitation,

combines to create an extraordinary and compelling reason rendering him eligible for

compassionate release.

       The Government calls Mr. Sanders’s rehabilitation into question, suggesting that his

history of infractions is significant, while in contrast, his three-year period of discipline-free

conduct is not. This Court disagrees. Mr. Sanders’s early tenure in the Bureau of Prisons (“BOP”)

was fraught with problems, but his track record in recent years proves that he has matured. The




1
  This Court incorporates by reference its more detailed discussion of applicable legal standards
described in detail in its April 15, 2021 memorandum opinion, ECF 148 at 2. As described therein,
there is no dispute that Mr. Sanders has complied with the applicable procedural prerequisites to
file his Motion with this Court, see id.
                                                  2
         Case 1:06-cr-00087-SAG Document 159 Filed 05/25/22 Page 3 of 4



fact that a portion of that recent tenure occurred after this Court specifically indicated that it would

monitor his conduct closely and would rely on his ongoing compliance to determine the propriety

of his release does not, in this Court’s view, undermine Mr. Sanders’s accomplishment. In fact,

Mr. Sanders will face the precise inverse of that situation for the next eight years: this Court will

continue to carefully monitor his conduct, and he will know that if he violates his conditions of

supervised release, he will be returned to custody. At present, Mr. Sanders has demonstrated

rehabilitation insofar as he is capable of comporting his conduct to required standards and is

motivated to do so.      And, as this Court noted in its earlier opinion, he has gone further,

demonstrating extraordinary rehabilitation because he “earned his GED, completed an array of

meaningful programming, . . . transferred to a lower security classification, and served as a mentor

to younger incarcerated individuals and to family members outside the prison walls.” ECF 128 at

4.

        Finally, this Court incorporates by reference its earlier discussions in two prior

memorandum opinions regarding the § 3553(a) factors applicable to Mr. Sanders. 2 See ECF 128

at 4-7; ECF 148 at 2. The Government suggests that despite the history and characteristics of the

defendant outlined above, the § 3553(a) factors do not weigh in favor of Mr. Sanders’s prompt

release because he poses a continued danger to the public. Once again, this Court disagrees. Mr.

Sanders has been incarcerated for 16 ½ years. He is now in his mid-forties and will be subject to

court supervision for eight years, until he is into his fifties. Further, his present anticipated release

date, if this Court does not reduce his sentence, is November 25, 2024. This Court is not persuaded




2
 As this Court has previously noted, ECF 148 at 7, the third prong of the § 3582(c)(1)(A) analysis,
the “consistency” requirement, “simply is not implicated, for the threshold reason that there
currently exists no ‘applicable policy statement[ ].’” United States v. McCoy, 981 F.3d 271, 281
(4th Cir. 2020) (internal citations omitted).
                                                   3
         Case 1:06-cr-00087-SAG Document 159 Filed 05/25/22 Page 4 of 4



that an additional 30 months of incarceration will make a material difference regarding whether

Mr. Sanders is able to comply with the conditions of supervision or whether he poses a threat to

community safety. Despite his lengthy criminal history during his younger days and his rocky

early tenure in the BOP, Mr. Sanders’s present record suggests that he does not pose a significant

threat to community safety, particularly under carefully crafted conditions of supervised release

including an initial period of home confinement. Accordingly, this Court believes that a sentence

of “time served” is sufficient, but not greater than necessary, to address the purposes of the

sentencing statute, 18 U.S.C. § 3553(a).

       For the reasons set forth above, Mr. Sanders’s motion for compassionate release, ECF 157,

will be granted. This Court therefore will enter an amended judgment reducing Mr. Sanders’s

sentence to time served, with his release subject to current BOP protocols with respect to any

COVID-related quarantine that may be required. A separate Order follows.



Dated: May 25, 2022

                                                    ________/s/_________________________
                                                    Stephanie A. Gallagher
                                                    United States District Judge




                                                4
